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                                UNITED STATES DISTRICT COURT

                                                  DISTRICT OF OREGON
                                        Portland
                                        - - - - - - DIVISION




                                                            CivilCaseNo. :s;;J.~-ev-o,-73q-               /VIK
(Enter full name ofplaintiff)                               (to be assigned by Clerk's Office)
                    · Plaintiff,

                       v.                                   COMPLAINT FOR VIOLATION OF CIVIL
                                                            RIGHTS (PRISONER COMPLAINT)



                                                            Jury Trial Demanded
                                                               /
  AJ 1bh,[N /V1 It If ftJU /1/TY Jfl JL                     [0Yes         □No

 -f7~-+, a I
(Enter full name ofALL defendant(s))


                      Defendant(s).



                                                      I. PARTIES

         List your name, address, and telephone number below, and the same information for
  each defendant. Make sure that the defendant(s) listed below are ideritical to those
. contained in the caption of the complaint. Attach additional sheets ofpaper if necessary.
                                .   .,,,,..,...
 Plaintiff              Name:       'Jefl-11 f/-"1 N    lftt /LIZ-JS
                        Street Address: 1/,:::J. l) ,St,/ :=fh ti2d ~ v.e.
                        City, State & Zip Code: PorL+l~lld !                 O~~vprr> q 1a.0Lf
                        Telephone No.:                  ·   1'#:'i-! · Ql-i.-<?,~o/ ~ ·73;.. 43e?jJ
Complaint for Violation of Civil Rights (Prisoner Complaint)               ·                                1
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  Defendant No.1           Name:        DJZ-/JiC~ ftJ/ J,<
                           StreetAddress:   ',,c1i Su.J 3ul /1-v-,c.
                           _City, State&Zip Code:    fpll_f/a116(1 (}cqon _9J;.i).(J</
                           Tel~hone No.:       14,=?•-t:;g,,f ·-_36JM.

  Defendant No. 2          ~ame:        .D~,Olt/-y P-et D                        .
                           Street Address: · lJd                 ,~~ M Jt-1/e..
                           City,.St¢e &Zip Code:                                 1n
                           Telephone No.: -=·=t).=·=-----~·--=....:.,'------=-'=~'----


  Defendant No. 3          N~:          QIJ/¼fy /...i.JV,:_ ~~ _
                           StreetAddress:     tl.a/) f.1.iJ . :        e.r/ Pl v.e.
                           City, State & Zip Code: . ffJllfln/"/cl; tJC.i!..1!711
                           T~lephone No.:        _:5h'3 - C/5,r S6¥7

  J;>efendantNo. 4                         ·f-=tt.."-"--Y--"f-=IJ_/2_--=-------
                           Name:--'--=~---......
                           StreetAddress.: IJ;J,tJ ,.)/,J 3 (?/ ,1/tl'<Z. ·
                           City, State &Zip Code: 'ftJ'/21-/ zy.,-,d, /)f.eqon t:lc}~{/
                           Telephone No.:      98.,,. '(M' ,'?> 'bg-'] ✓/.




                                  . II. BASIS FOR JURISDICTION
                              .     '                                                .              .
  .        Under 42· U.S._C. § 1983, you may sue state or local officials for the 11 deprivation of any
  rights, privileges, or immub.i:t:ies secured by the Constitution and [federal laws]." Under Bivens
  v. Six Unknown Agents ·of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
  federal offici~ for-the yiolation of certain constitutional rights.

         A. · You are bringing suit against (chec_k all that apply):

                   □ -Federal officials (aBiv~ claim)

                   qvsGte or-local o:ffici~s (a§ 1983 claim)



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                                    B. What federal constitutional, statutory, or treaty right(s) is/are at issue?

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                                                               III. STATEMENT OF CLAIMS

                                                                          Claim I

                                   State here as briefly as possible the facts of your case. Describe how each defendant
                           was involved, when the conduct occurred, and any injuries you have suffered as a result.
                           It is not necessary to give any legal arguments or cite any cases or statutes.

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                                   State here as briefly as possible the facts of your case. Describe how each defendant
                           was involved, when the conduct occiirred, and any injuries you have suffered as a result.
                           It is not necessary to give any legal arguments or cite any cases or statutes.

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                                            Claim III

       State here as briefly as possible the facts ofyour case. Describe how each defendant was
 involved, when the conduct occurred, and any injuries you have suffered as a result. It is not
 necessary to give any legal arguments or cite any cases or statutes. .



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 (Ifyou have additional claims, aescribe them on another piece oJpap"e,:; usmg tie same iO{H110.,11.
 outline.)

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                   IV. EXHAUSTION OF ADMINISTRATIVE REMEDms
 I have filed for administrative relief as to all claims in Section ill and have concluded all
 administrative appeals available to me.

                             ·. ~                     □No

                                            V. RELIEF

        State 'fll:idJJLexactlywhatyouwantthe court to do for you and the amount, ifany, of
 · monetary compensation you are seeking. Make no lega~ arguments. (!ite no cases or statutes.

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         I declare under penalty of perjury that the foregoing' is true and correct.

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                                           . . JMA- ~ ~
                                                (Signatwe ofPlaintiff)                           ·




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